Case 24-70089-swe11                           Doc 235 Filed 12/12/24 Entered 12/12/24 23:39:03               Desc
                                               Main Document     Page 1 of 13


Jeff Carruth (TX SBN: 24001846)
WEYCER, KAPLAN, PULASKI & ZUBER, P.C.
2608 Hibernia, Suite 105
Dallas, TX 75204-2514
Telephone: (713) 341-1158
Fax: (713) 961-5341
E-mail: jcarruth@wkpz.com

ATTORNEYS FOR
HIGH PLAINS RADIO NETWORK, LLC,
DEBTOR AND DEBTOR IN POSSESSION



                                          UNITED STATES BANKRUPTCY COURT
                                            NORTHERN DISTRICT OF TEXAS
                                               WICHITA FALLS DIVISION

   IN RE:                                                                    §
   HIGH PLAINS RADIO NETWORK, LLC,                                           §       CASE NO. 24-70089-swe
                                                                             §         (Chapter 11, SubV)
                                                                             §
                                                                             §   EXPEDITED HEARING REQUESTED:
               DEBTOR.                                                       §        December 19 or 20, 2024
                                                                                     By WebEx / in Dallas Texas
                                                                             §

                             MOTION TO EXTEND USE OF CASH COLLATERAL

TO THE HONORABLE SCOTT W. EVERETT, U.S. BANKRUPTCY JUDGE:

            High Plains Radio Network LLC, the debtor and debtor in possession (“HPRN” or the

“Debtor”), file this Motion to Extend Use of Cash Collateral (the “Motion to Use Cash

Collateral” or the “Motion”) and in support thereof would show to the Court the following.

                                            EXPEDITED HEARING REQUESTED

            1.          Debtor concurrently has filed a separate motion seeking expedited consideration

of this motion on December 19, 2024 or December 20, 2024.

            2.          The Debtor by this motion and the attached budget EXHIBIT H046 seeks to

extend the authority to use cash collateral in accordance with the attached budget, through and

until the week of January 27, 2025.




MOTION TO EXTEND USE OF CASH COLLATERAL — Page 1
motion cash collateral 003 4895-2493-7464 v.5.docx[1] 4897-8096-1798, v. 1
Case 24-70089-swe11                           Doc 235 Filed 12/12/24 Entered 12/12/24 23:39:03       Desc
                                               Main Document     Page 2 of 13



                                         BACKGROUND AND BASIS OF RELIEF

            3.          The Debtor by this motion and the attached budget EXHIBIT H046 seeks to

further extend the authority to use cash collateral in accordance with the attached budget,

through and until the week of January 27, 2025.

            4.          Debtor seeks interim authorization for the extension, followed by a final hearing.

            5.          Alternatively, based upon prior hearings and authorizations, Debtor requests, on a

final basis and without the necessity of an additional hearing, extension of the existing and/or

previous final cash collateral authority, with the addition of the notice-only extension procedure

contained in Paragraph No. 18 of the proposed order below.

            6.          A proposed order accompanies this Motion and is incorporated by reference

herein.

                                                   CONCLUSION AND PRAYER

            WHEREFORE, High Plains Radio Network LLC, Debtor and Debtor in Possession,

respectfully requests that an expedited hearing be held on this Motion and that the Court

immediately grant the Debtor's use of cash collateral according to the budget, Exhibit H046

through and until the week of January 27, 2025. The Debtor further requests such other and

further relief to which the Debtor is entitled at law or in equity.




MOTION TO EXTEND USE OF CASH COLLATERAL — Page 2
motion cash collateral 003 4895-2493-7464 v.5.docx[1] 4897-8096-1798, v. 1
Case 24-70089-swe11                           Doc 235 Filed 12/12/24 Entered 12/12/24 23:39:03           Desc
                                               Main Document     Page 3 of 13




Dated: December 12, 2024                                         Respectfully submitted:

                                                                 WEYCER, KAPLAN, PULASKI & ZUBER, P.C.

                                                                 By:      /s/ Jeff Carruth
                                                                       JEFF CARRUTH (TX SBN: 24001846)
                                                                       2608 Hibernia, Suite 105
                                                                       Dallas, TX 75204-2514
                                                                       Telephone: (713) 341-1158
                                                                       Fax: (713) 961-5341
                                                                       E-mail: jcarruth@wkpz.com

                                                                 ATTORNEYS FOR
                                                                 HIGH PLAINS RADIO NETWORK, LLC
                                                                 DEBTOR AND DEBTOR IN POSSESSION


                                  CERTIFICATE OF SERVICE
The undersigned hereby certifies that a true and correct copy of the foregoing was served on
December 12, 2024 (1) by electronic notice to all ECF users who have appeared in this case to
date, and/or as set forth below and (2) by regular mail to all parties appearing in the attached
address list (i.e. mailing matrix).

COPIES OF THE EXHIBITS WERE NOT SERVED BY REGULAR MAIL. PLEASE
CONTACT THE UNDERSIGNED IF YOU WISH TO RECEIVE THE EXHIBITS.

                                                                             /s/Jeff Carruth
                                                                             Jeff Carruth




MOTION TO EXTEND USE OF CASH COLLATERAL — Page 3
motion cash collateral 003 4895-2493-7464 v.5.docx[1] 4897-8096-1798, v. 1
Case 24-70089-swe11                           Doc 235 Filed 12/12/24 Entered 12/12/24 23:39:03                           Desc
                                               Main Document     Page 4 of 13


                                                               ECF SERVICE LIST

24-70089-swe11 Notice will be electronically
mailed to:                                                                   Julie Anne Parsons on behalf of Creditor Eastland
                                                                             County Appraisal District
Christopher V. Arisco on behalf of Creditor Midland                          jparsons@mvbalaw.com,
States Bank d/b/a Midland Equipment Finance                                  karla.alexander@mvbalaw.com;theresa.king@mvbal
carisco@padfieldstout.com                                                    aw.com;juanie.montalvo@mvbalaw.com;julie.parson
                                                                             s@ecf.courtdrive.com
Owen Colin Babcock on behalf of Creditor Balboa
Capital Corporation                                                          Julie Anne Parsons on behalf of Creditor The County
obabcock@padfieldstout.com                                                   of Henderson, Texas
                                                                             jparsons@mvbalaw.com,
Jeffery D. Carruth on behalf of Debtor High Plains                           karla.alexander@mvbalaw.com;theresa.king@mvbal
Radio Network, LLC                                                           aw.com;juanie.montalvo@mvbalaw.com;julie.parson
jcarruth@wkpz.com,                                                           s@ecf.courtdrive.com
jcarruth@aol.com;atty_carruth@trustesolutions.com;
carruthjr87698@notify.bestcase.com;ATTY_CARR                                 Julie Anne Parsons on behalf of Creditor The County
UTH@bluestylus.com;jcarruth@ecf.courtdrive.com                               of Stephens, Texas
                                                                             jparsons@mvbalaw.com,
Paul H. Cross on behalf of Creditor Hanmi Bank                               karla.alexander@mvbalaw.com;theresa.king@mvbal
phclease@msn.com                                                             aw.com;juanie.montalvo@mvbalaw.com;julie.parson
                                                                             s@ecf.courtdrive.com
JaKayla DaBera on behalf of Creditor BankFinancial,
N.A.                                                                         Michael P. Ridulfo on behalf of Creditor
jdabera@krcl.com,                                                            BankFinancial, N.A.
jdabera@ecf.courtdrive.com;ecf@krcl.com                                      mridulfo@krcl.com,
                                                                             rcoles@krcl.com,scallier@krcl.com;mridulfo@ecf.co
John Easter on behalf of Creditor Pawnee Leasing                             urtdrive.com
Corporation
jeaster@padfieldstout.com                                                    Scott M. Seidel -SBRA V
                                                                             scott@scottseidel.com,
Shanna M. Kaminski on behalf of Interested Party                             csms11@trustesolutions.net;susan.seidel@earthlink.n
Union Funding Source, Inc.                                                   et
skaminski@kaminskilawpllc.com
                                                                             Dawn Whalen Theiss on behalf of Creditor Small
Sherrel K. Knighton on behalf of Creditor Malakoff                           Business Administration
ISD                                                                          dawn.theiss@usdoj.gov,
Sherrel.Knighton@lgbs.com, Dora.Casiano-                                     brooke.lewis@usdoj.gov;CaseView.ECF@usdoj.gov
Perez@lgbs.com;Sean.French@lgbs.com;Eva.Parker
@lgbs.com;Alexis.Hall@lgbs.com;Dallas.Bankruptc                              United States Trustee
y@lgbs.com                                                                   ustpregion06.da.ecf@usdoj.gov

Matthew F. Kye on behalf of Creditor Amur                                    David Weitman on behalf of Creditor Vertical Bridge
Equipment Finance, Inc.                                                      REIT, LLC
mkye@kyelaw.com, dsullivan@kyelaw.com                                        david.weitman@klgates.com




MOTION TO EXTEND USE OF CASH COLLATERAL — Page 4
motion cash collateral 003 4895-2493-7464 v.5.docx[1] 4897-8096-1798, v. 1
                       Case 24-70089-swe11   Doc 235 Filed 12/12/24 Entered 12/12/24 23:39:03   Desc
                                              Main Document     Page 5 of 13


                                                    REGULAR MAIL LIST




4897-8096-1798, v. 1
                       Case 24-70089-swe11   Doc 235 Filed 12/12/24 Entered 12/12/24 23:39:03   Desc
                                              Main Document     Page 6 of 13




4897-8096-1798, v. 1
Case 24-70089-swe11    Doc 235 Filed 12/12/24 Entered 12/12/24 23:39:03   Desc
                        Main Document     Page 7 of 13




                         PROPOSED INTERIM ORDER




4897-8096-1798, v. 1
Case 24-70089-swe11                           Doc 235 Filed 12/12/24 Entered 12/12/24 23:39:03           Desc
                                               Main Document     Page 8 of 13




                                        UNITED STATES BANKRUPTCY COURT
                                          NORTHERN DISTRICT OF TEXAS
                                             WICHITA FALLS DIVISION

   IN RE:                                                                    §
                                                                             §
   HIGH PLAINS RADIO NETWORK, LLC,                                           §   CASE NO. 24-70089-swe
                                                                             §     (Chapter 11, SubV)
               DEBTOR.                                                       §
                                                                             §

            INTERIM ORDER EXTENDING USE CASH COLLATERAL AND
            NOTICE OF FINAL HEARING (RE: DOCKET NO. _____)

        On December ____, 2024 , the Court conducted a hearing regarding the Motion to Extend
Use of Cash Collateral (Docket No. ____) (the “Motion to Use Cash Collateral” or the
“Motion”) filed herein on December 12, 2024 by High Plains Radio Network LLC, debtor and
debtor in possession (“HPRN” or the “Debtor”).

        The Court finds that HPRN provided due and appropriate notice of the Motion, the relief
requested therein, and the hearing (the “Notice”) has been served by the Debtor on (i) the Office
of the United States Trustee for Region 6, (ii) the parties listed in the matrix filed in this case,
(iii) any persons possessing a security interest in the assets of the Debtor and any person
possessing a security interest in the cash collateral of the Debtor; (iv) certain other parties
identified in the certificate of service filed with the Court (collectively, the “Noticed Parties”).

       Upon the record established at the hearing and/or prior hearings, the Court is of the
opinion that the following Order should be entered.


ORDER EXTENDING USE CASH COLLATERAL AND
NOTICE OF FINAL HEARING (RE: DOCKET NO. ____) — Page 1
motion cash collateral 003 4895-2493-7464 v.5.docx[6] 4897-8096-1798, v. 1
Case 24-70089-swe11                           Doc 235 Filed 12/12/24 Entered 12/12/24 23:39:03               Desc
                                               Main Document     Page 9 of 13



    THE COURT HEREBY MAKES THE FOLLOWING FINDINGS OF FACTS AND
CONCLUSIONS OF LAW:

            A.          On March 26, 2024 (the “Petition Date”), the Debtor filed its voluntary petition under
                        Chapter 11 of the United States Bankruptcy Code, 11 U.S.C. § 101 et seq. (the “Code”).
                        The Debtor continues to manage its assets as a debtor in possession pursuant to Code §§
                        1107 and 1108.

            B.          The Court has jurisdiction over this proceeding and the parties and property affected
                        hereby pursuant to 28 U.S.C. §§ 157(b) and 1334. The Motion is a core proceeding as
                        defined in 28 U.S.C. § 157(b). Venue of the Chapter 11 Case and the Motion in this
                        district is proper under 28 U.S.C. §§ 1408 and 1409.

            C.          Under the circumstances, the Notice given by the Debtor of the Motion and the hearing
                        constitutes due and sufficient notice thereof and complies with Bankruptcy Rule 4001(c).

            D.          Debtor’s primary creditor with respect to cash collateral is the Small Business
                        Administration (the “SBA” or the “Lender”).

            E.          The Lender likely asserts an interest in, inter alia, the accounts, equipment, and inventory
                        of the Debtor.

            F.          Sufficient cause exists for immediate entry of this order pursuant to Bankruptcy Rules
                        4001(c)(2). The Debtor requires continued access to and use of the Cash Collateral in
                        order to continue normal business operations.

            G.          No party appearing in this Chapter 11 Case has filed or made an objection to the relief
                        sought in the Motion and the entry of this order on an interim basis, or any objections that
                        were made are hereby overruled, or have been resolved by agreement.

            Based upon the foregoing, and after due consideration and good cause appearing therefor;

            IT IS HEREBY ORDERED, ADJUDGED AND DECREED, that:

            1.          The Motion is granted on a interim basis.

       2.      The cash and revenue generated by the Debtor post-petition are available for use
by the Debtor as provided in this Order.

       3.      As set forth below, the Debtor is authorized to use Cash Collateral under the
terms of the budget, attached hereto as Exhibit H046 (the “Budget”). The expenses of the
Debtor shall not exceed 25% within Exhibit H046 per line item category, absent the written
consent of the Lender, which consent shall not be unreasonably withheld.

       4.      This authorization will expire on upon conclusion of the last week set forth in the
Budget. The Debtor may seek to extend this authorization by subsequent motion, notice, and
opportunity for a hearing.




ORDER EXTENDING USE CASH COLLATERAL AND
NOTICE OF FINAL HEARING (RE: DOCKET NO. ____) — Page 2
motion cash collateral 003 4895-2493-7464 v.5.docx[6] 4897-8096-1798, v. 1
Case 24-70089-swe11                           Doc 235 Filed 12/12/24 Entered 12/12/24 23:39:03   Desc
                                               Main Document    Page 10 of 13



       5.      This order does not authorize the Debtor to pay any prepetition obligations
without further order of this Court.

       6.      During the period governed by this order, the Debtor must maintain an accounting
of all funds and the Debtor shall segregate, remit, and deposit all of the Cash Collateral
consistent with the Debtor’s past and ordinary practices.

       7.      Nothing contained in this Order limits the expenditure of any cash in the
possession of the Debtor that is not Cash Collateral.

        8.       As adequate protection for any diminution in the value of the Lender’s interest in
the Lender’s collateral caused by the Debtor’s use of Cash Collateral, the Lender is hereby
granted valid, perfected, and enforceable replacement security interests in and liens upon the
collateral referenced and described in the prepetition UCC-1 financing statement filed by the
Lender with the Texas Secretary of State, only to the same extent and according to the same
priority as the Lender's pre-petition lien position, and only to the extent of (x) the use of any
Cash Collateral in which the Lender has an interest in excess of the Budget and (y) any actual
diminution in the value of the Debtor's interest(s) in the Debtor's property resulting from the use
of Cash Collateral (the “Post-petition Collateral”). The security interests and liens granted to the
Lender shall at all times be senior to the rights of the Debtor and any successor trustees in these
or any subsequent proceedings under the Code to the extent that the Lender’s prepetition security
interests and liens are senior to the rights of the Debtor. The security interests and liens herein
granted (i) are and shall be in addition to all security interests, liens, mortgages, and rights to set
off existing in favor of the Lender, on the Petition Date; (ii) in the same priority as the
prepetition liens in favor of the Lender to the extent that prepetition liens and security interests
are valid, perfected, enforceable, and non-avoidable; (iii) are and shall be valid, perfected,
enforceable, and effective as of the Petition Date without any further action by the Debtor or the
Lender and without the execution, filing, or recordation of any financing statements, security
agreements, or other documents, and (iv) shall secure payment of principal as well as any
interest, costs, or other charges to which the Lender may be entitled post-petition, but only to the
extent that these items represent a diminution in value of the Lender’s interest in its collateral.

        9.      To the extent of any inadequacy of the Post-petition Collateral with respect to the
maintenance of position of the Lender, then, as further adequate protection, the Lender shall also
be entitled to assert an administrative expense claim under Code §§ 361(3) and 503(b)(1).

        10.     This order shall be sufficient and conclusive evidence of the priority, perfection,
and validity of the liens granted herein, effective as of the date and time of entry of this order,
without any further act and without regard to any other federal, state, or local requirements or
law requiring notice, filing, registration, recording, or possession of the collateral or other act to
validate or perfect such security interest or lien. If the Lender hereafter requests that the Debtor
execute and deliver to the Lender financing statements, instruments, or documents considered by
the Lender to be necessary or desirable to further evidence the perfection of the replacement
liens and security interests granted in this order, the Debtor is authorized and directed to execute
and deliver those financing statements, instruments, or documents. Nothing in this Order shall in
any way restrict the scope of the Lender’s pre-petition liens, security interests, rights of set-off,



ORDER EXTENDING USE CASH COLLATERAL AND
NOTICE OF FINAL HEARING (RE: DOCKET NO. ____) — Page 3
motion cash collateral 003 4895-2493-7464 v.5.docx[6] 4897-8096-1798, v. 1
Case 24-70089-swe11                           Doc 235 Filed 12/12/24 Entered 12/12/24 23:39:03                    Desc
                                               Main Document    Page 11 of 13



or claims with respect to its collateral, and all liens, security interests, and mortgages on the
Lender's collateral shall extend to the fullest extent permitted by Code § 552(b).

      11.    The replacement liens granted to the Lender herein exclude and shall not
encumber any Code Chapter 5 avoidance claims of the Debtor and/or of the estate.

       12.    The liens on the Lender’s Post-petition Collateral are subordinated to fees payable
to the Subchapter V Trustee. The Debtor is also authorized to pay the Subchapter V Trustee
interim compensation in accordance with the Scheduling Order and Notice of Status Conference.
(Docket No.18).

         13.    The terms of this Order shall in no way prejudice any (i) subsequent trustee,
(ii) statutory committee or (iii) any party in interest that would otherwise have standing, to
contest the pre-petition interests of the Lender in the Debtor’s property and the amounts of the
Debtor’s indebtedness to the Lender.

       14.     The final hearing on the Motion pursuant to Bankruptcy Rule 4001(c)(2) is
scheduled for ____________, 2025, AT 9:30 A.M. prevailing Central time (the “Hearing
Date”) before this Court.

The final hearing will be conducted via a hybrid format. Parties who will be offering evidence or
participating in examination must make in-person appearances in Judge Everett's courtroom
located at US Federal Courthouse, 1100 Commerce Street, 14th Floor, Courtroom #3, Dallas, TX
75242; other interested parties may make Webex appearances. INSTRUCTIONS FOR
WEBEX HEARING PARTICIPATION APPEAR AT THE END OF THIS ORDER.


 For WebEx Video Participation/Attendance:                                   https://us-courts.webex.com/meet/everett

 For WebEx Telephonic Participation/Attendance:                              Dial-In: 1-650-479-3207
                                                                             Access Code: 2304 017 9738



The Debtor shall promptly mail copies of this order to the Noticed Parties. Any party in interest
objecting to the relief sought at the final hearing shall serve and file written objections, which
objections shall be served upon (a) counsel for Debtor – Jeff Carruth, Weycer, Kaplan, Pulaski &
Zuber, P.C., and (b) counsel to the Lenders as shown below,

                    Dawn Whalen Theiss
                    Assistant United States Attorney
                    1100 Commerce St., Ste. 300
                    Dallas, Texas 75242
                    dawn.theiss@usdoj.gov

and (c) the Office of the U.S. Trustee for Region 6 to Erin Schmidt, at erin.schmidt2@usdoj.gov,
and (d) the SubChapter V Trustee, Scott Seidel, at scott@scottseidel.com (collectively, the “Core



ORDER EXTENDING USE CASH COLLATERAL AND
NOTICE OF FINAL HEARING (RE: DOCKET NO. ____) — Page 4
motion cash collateral 003 4895-2493-7464 v.5.docx[6] 4897-8096-1798, v. 1
Case 24-70089-swe11                           Doc 235 Filed 12/12/24 Entered 12/12/24 23:39:03   Desc
                                               Main Document    Page 12 of 13



Notice Parties”), and shall be filed with the Clerk of the United States Bankruptcy Court for the
Northern District of Texas.

        15.     Notwithstanding any other provisions of this Order, or any agreements approved
hereby, any statutory ad valorem tax liens (collectively, the “Tax Liens”) held by any taxing
authority in the State of Texas (the “Taxing Authorities”) for prepetition and postpetition ad
valorem taxes shall not be primed nor made subordinate to any liens or superpriority
administrative expense claims granted to any party hereby to the extend such Tax Liens are
valid, senior, perfected, and unavoidable, and all parties’ rights to object to the priority, validity,
amount, and extent of the claims and liens asserted by the Taxing Authorities are fully preserved.

       16.    As adequate protection, the Debtor shall remit to Union Funding Source, Inc the
amount of $1,000 per week beginning the week of April 8, 2024. Each of the Debtor, the SBA,
and Union Funding Source, Inc (“Union Funding”) reserve all facts, claims, issues, rights,
remedies, and/or defenses with respect to ownership of the receivables of the Debtor as asserted
in the documents attached to the pleading(s) of Union Funding and including whether Union
Funding is entitled under such documents or otherwise to retain such adequate protection
payments. Such amounts are authorized as part of and/or in addition to the Budget.

      17.     As adequate protection, the Debtor shall remit to the SBA adequate protection
payments of $180.00 per month, on or before the last day of each month, commencing with the
month of April, 2024. Such amounts are authorized as part of and/or in addition to the Budget.

        18.     FURTHER EXTENSIONS OF AUTHORITY BY FILING AND SERVING
NOTICE AND BUDGET. With and after the entry of a final order, the Debtor may extend the
authority to use cash collateral beyond the final order on the Motion by filing and serving to the
parties in receipt of this Motion a notice of proposed extension of cash collateral and a proposed
budget, with each budget covering no more than a five (5) week period. Any party objecting to
the proposed use of cash may file an objection within fourteen (14) days from the date of the
filing of the notice and the budget, and shall serve any such objection to the Core Notice Parties.
Upon the filing of an objection, the Debtor shall request that an expedited hearing be set to
resolve the objection.

                                                       ####END OF ORDER####

Submitted by:

Jeff Carruth (TX SBN: 24001846)
WEYCER, KAPLAN, PULASKI & ZUBER, P.C.
2608 Hibernia, Suite 105
Dallas, TX 75204-2514
Telephone: (713) 341-1158
Fax: (713) 961-5341
E-mail: jcarruth@wkpz.com

ATTORNEYS FOR
HIGH PLAINS RADIO NETWORK, LLC,
DEBTOR AND DEBTOR IN POSSESSION




ORDER EXTENDING USE CASH COLLATERAL AND
NOTICE OF FINAL HEARING (RE: DOCKET NO. ____) — Page 5
motion cash collateral 003 4895-2493-7464 v.5.docx[6] 4897-8096-1798, v. 1
                                                                           Case 24-70089-swe11         Doc 235 Filed 12/12/24 Entered 12/12/24 23:39:03                  Desc
                                                                                                        Main Document    Page 13 of 13




                                                                            EXHIBIT H046 - BUDGET 13 WEEK THROUGH Jan 27 WEEK
High Plains Radio Network                            13-week budget. No admission of liability.
                            Calendar Start of Week     11/4/2024    11/11/2024    11/18/2024       11/25/2024     12/2/2024       12/9/2024       12/16/2024     12/23/2024     12/30/2024   1/6/2025      1/13/2025     1/20/2025      1/27/2025
                                             Week:         1             2              3              4              5               6                7             8              9           10             11           12              13
Start Cash                                               3,965        23,965         15,965          36,609         3,459          23,459           (4,541)        16,103        (16,047)      3,953        (24,047)      (9,547)        (30,553)

Receipts
                 Operating income                          20,000         40,000         40,000        30,000         20,000          20,000          40,000         30,000         20,000      20,000         30,000        40,000         40,000
Total Cash Receipts                                        23,965         63,965         55,965        66,609         23,459          43,459          35,459         46,103          3,953      23,953          5,953        30,453          9,447

Operating Expenses
                Payroll                                          0       (45,000)             0        (35,000)               0      (45,000)               0        (35,000)            0      (45,000)            0        (35,000)               0
                Utilities & Leases & Ins.                        0             0              0        (17,150)               0            0                0        (17,150)            0            0             0        (17,150)               0
                Programming Related                              0             0        (13,000)             0                0            0          (13,000)             0             0            0       (13,000)             0                0
                Vertical Bridge Leases                           0             0         (2,500)        (5,000)               0            0           (2,500)        (5,000)            0            0        (2,500)        (5,000)               0
                Corp & Ins & Admin.                              0        (3,000)             0              0                0       (3,000)               0              0             0       (3,000)            0              0                0
                Total OpEx                                       0       (48,000)       (15,500)       (57,150)               0      (48,000)         (15,500)       (57,150)            0      (48,000)      (15,500)       (57,150)               0

Prof. Fees/Admin. Expenses
                WKPZ                                             0             0              0         (6,000)               0               0             0         (5,000)            0            0             0              0        (5,000)
                Settlment PMTS                                   0             0              0              0                0               0             0              0             0            0             0              0             0
                   Hanmi Bank - AMUR                             0             0         (1,000)             0                0               0        (1,000)             0             0            0             0         (1,000)            0
                   A.P. reserve                                  0             0         (1,000)             0                0               0        (1,000)             0             0            0             0         (1,000)            0
                   A.P. reserve                                  0             0           (540)             0                0               0          (540)             0             0            0             0           (540)            0
                   SBA                                           0             0           (316)             0                0               0          (316)             0             0            0             0           (316)            0
                SubV Trutsee                                     0             0         (1,000)             0                0                        (1,000)             0             0            0             0         (1,000)            0
                Total Prof. Fees/Admin. Exp,                     0             0         (3,856)        (6,000)               0            0           (3,856)        (5,000)            0            0             0         (3,856)       (5,000)
Total Disbursements                                              0       (48,000)       (19,356)       (63,150)               0      (48,000)         (19,356)       (62,150)            0      (48,000)      (15,500)       (61,006)       (5,000)

Net Cash Flow                                              23,965         15,965         36,609         3,459         23,459          (4,541)         16,103         (16,047)        3,953      (24,047)       (9,547)       (30,553)        4,447

C:\Users\jcarruth\ND Office Echo\VAULT-C9SL7ZTY\[exh h046 - budget thru 20250127w 4927-2057-7286 v.2.xlsx]13 Wk Budget Updated 110424




                                                                                                                      Page 1 of 1                                                                                        13 Wk Budget Updated 110424
